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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

                                                                    Master Case No.
                  IN RE GEORGIA SENATE BILL 202
                                                                    1:21-MI-55555-JPB

                  SIXTH DISTRICT OF THE AFRICAN
                  METHODIST EPISCOPAL CHURCH, et al.,

                                           Plaintiffs,

                                            v.

                  BRIAN KEMP, Governor of the State of              Civil Action No.
                  Georgia, in his official capacity, et al.,        1:21-CV-1284-JPB

                                           Defendants,

                  REPUBLICAN NATIONAL COMMITTEE, et
                  al.,

                                           Intervenor-Defendants.



                   SUPPLEMENTAL DECLARATION OF REGINALD T. JACKSON




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                    My name is Reginald T. Jackson. I am over the age of 21 and fully

            competent to make this declaration. Under penalty of perjury, I declare the

            following based on my personal knowledge:

                    1.       I am the presiding prelate of the Sixth District of the African

            Methodist Episcopal Church (“AME Church”).

                    2.       I am a Black man and am registered to vote in Fulton County.

                    3.       The Sixth District is one of twenty worldwide districts of the AME

            Church. The Sixth District constitutes the entire State of Georgia. There are more

            than 500 member churches that are part of the Sixth District.

                    4.       I was elected and consecrated as the 132nd Bishop of the AME Church

            in 2012 and was assigned as the Bishop of the Sixth District in 2016. As Bishop of

            the Sixth District, it is my responsibility to supervise the work of the church as an

            organization and preside over member churches in the district.

                    5.       Through my role as Bishop of the AME Church, I am familiar with,

            and receive frequent updates and proposals for activities of member churches

            across the State of Georgia.

                    6.       Our member churches engaged in handing out food, water, chairs, and

            other provisions to voters standing in lines at the polls (also known as “line relief”)

            for decades across the State of Georgia through the 2021 U.S. Senate runoff

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            elections.

                    7.       Many of our line relief activities took place in predominantly Black

            neighborhoods across the state.

                    8.       The line relief efforts that member churches engaged in included

            handing out food, water, and other provisions to voters who were standing within

            150 feet of a polling location. If the line extended beyond 150 feet of a building,

            volunteers also approached voters who were standing in lines past that point.

                    9.       Our churches participated in line relief activities because AME

            Church members, most of whom are Black, often have to wait in long lines to cast

            their ballot at the polls. I am aware of many church members having to wait in line

            for hours to cast their ballot. For our church, providing this support was also about

            living up to the tenets of the Gospel. As the Gospel of Matthew tells us, “For I was

            hungry and you gave me something to eat, I was thirsty and you gave me

            something to drink.” Matthew 25:35 (NIV).

                    10.      By providing line relief, our members sent the message to voters that

            they have dignity as voters, their voice matters, and that they should overcome

            barriers to political participation by staying in line and ensuring that future

            elections are not marred by obstacles to the ballot box (such as long lines). Line

            relief also showed voters that their community supported them in their efforts to

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            cast a ballot.

                    11.      The message that AME Church volunteers sent to voters waiting in

            lines was the same, whether volunteers were approaching voters waiting within

            150 feet of the polling place or voters waiting in lines that extend beyond 150 feet

            of the polling place.

                    12.      To my knowledge, member churches have not engaged in any type of

            line relief activities after the passage of Senate Bill 202 (“S.B. 202”) in March of

            2021.

                    13.      AME churches would like to conduct more line relief activities in

            future elections.

                    14.      AME churches would resume at least some of its line relief activities

            even if the line relief ban were lifted only as to activities within 25 feet of voting

            lines that extend beyond 150 feet of the polling place.

                    15.      AME churches would be able to resume these activities almost

            immediately after it was notified which portions of the line relief ban were lifted.




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                    I declare under penalty of perjury that the foregoing is true and correct.
                                            4/17/2023
                    Executed on ___________________.



                    __________________________________________

                    REGINALD T. JACKSON




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